4:08-cr-03078-WKU-DLP          Doc # 89    Filed: 11/03/08     Page 1 of 1 - Page ID # 364




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                  Plaintiff,                )                    4:08CR3078
                                            )
           v.                               )
                                            )
PEEAIR SHAUN WARD,                          )        ORDER ON ORAL MOTION TO
                                            )        CONTINUE EVIDENTIARY AND
                  Defendants.               )           SENTENCING HEARING
                                            )


     IT IS ORDERED that:

     1.    defense counsel's oral motion to continue the evidentiary and sentencing hearing
           is granted;

     2.    the evidentiary and sentencing hearing is continued to November 12, 2008, at 2:00
           p.m. in Courtroom No. 4, U.S. Courthouse, 100 Centennial Mall North, Lincoln,
           Nebraska; and

     3.    the defendant shall be present for the hearing.

     Dated November 3, 2008.

                                   BY THE COURT

                                   s/ Warren K. Urbom
                                   United States Senior District Judge
